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 7   Attorneys for Defendant

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10                                 UNITED STATES DISTRICT COURT

11                                         DISTRICT OF NEVADA

12   SUSAN YATES,                               )
                                                )   Case No.: 2:21-cv-01511-DJA
13                 Plaintiff,                   )
                                                )   MOTION FOR EXTENSION OF TIME TO FILE
14          vs.                                 )   ANSWER AND ELECTRONIC COPY OF
                                                )   CERTIFIED ADMINISTRATIVE RECORD
15   KILOLO KIJAKAZI,                           )
     Acting Commissioner of Social Security,    )   (FIRST REQUEST)
16                                              )
                   Defendant.                   )
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 1           Defendant, Kilolo Kijakazi, Acting Commissioner of Social Security (the “Commissioner”), by and
 2   through her undersigned attorneys, hereby moves for an extension of time to file the answer and certified
 3   administrative record (CAR) in this case, which are currently due on June 27, 2022. The CAR in this case
 4   has been prepared, and in anticipation of the current deadline in this case, the Commissioner filed a motion
 5   to be relieved of the CD copy of the CAR, which the Court granted (Dkt. Nos. 11, 12). However, as the
 6   Commissioner attempted to prepare the CAR for e-filing and printing, the undersigned observed a technical
 7   issue that currently prevents the agency from printing the paper CAR due to errors that pop up. The
 8   undersigned believes this issue will also cause difficulties with filing the eCAR on CM/ECF.
 9           Accordingly, the Commissioner seeks a 21-day extension of time to resolve this technical issue so
10   the CAR can be printed and the eCAR can be filed with this Court. The agency has multiple IT personnel
11   working on this issue, but this issue is unusual and requires time to diagnose and resolve.             The
12   Commissioner apologizes to Plaintiff and the Court for the inconvenience, but believes the issue can be
13   resolved within 21 days. On June 21, 2022, the undersigned conferred with Plaintiff’s counsel about this
14   extension request, and counsel does not object to the requested extension.
15           For these reasons, the Commissioner respectfully requests that the Court grant this motion and
16   allow the Commissioner to file her answer and eCAR by July 18, 2022. The Commissioner will also
17   provide the Court with the paper copy on this date.
18           Dated: June 22, 2022                          Respectfully submitted,
19                                                         JASON M. FRIERSON
                                                           United States Attorney
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                                                           /s/ Allison J. Cheung
21                                                         ALLISON J. CHEUNG
                                                           Special Assistant United States Attorney
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                                                           IT IS SO ORDERED:
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25                                                         UNITED STATES MAGISTRATE JUDGE
26                                                                  June 23, 2022
                                                           DATED: ___________________________


     Mot. for Ext.; No. 2:21-cv-01511-DJA             1
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 1                                        CERTIFICATE OF SERVICE
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             I, the undersigned, am a citizen of the United States and am at least eighteen years of age. My
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     business address is 160 Spear Street, Suite 800, San Francisco, California 94105. I am not a party to the
 4
     above-entitled action. On the date set forth below, I caused service of the foregoing MOTION FOR
 5
     EXTENSION OF TIME TO FILE ANSWER AND ELECTRONIC COPY OF CERTIFIED
 6
     ADMINISTRATIVE RECORD on the following parties by electronically filing the foregoing with the
 7   Clerk of the District Court using its ECF System, which provides electronic notice of the filing:
 8
             Cyrus Safa
 9           cyrus.safa@rohlfinglaw.com
             Attorney for Plaintiff
10
     I declare under penalty of perjury that the foregoing is true and correct.
11

12           Dated: June 22, 2022
13
                                                           /s/ Allison J. Cheung
14                                                         ALLISON J. CHEUNG
                                                           Special Assistant United States Attorney
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     Mot. for Ext.; No. 21-cv-01511-DJA
